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                                                                                          United States District Court
                                                                                            Southern District of Texas

                                                                                               ENTERED
                                                                                           December 07, 2021
                          IN THE UNITED STATES DISTRICT COURT                               Nathan Ochsner, Clerk
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 HARRIS COUNTY, TEXAS,                               §
          Plaintiff,                                 §
 V.                                                  §
                                                     §
 TEXAS DEPARTMENT OF                                 §
 TRANSPORTATION; and MARC                            §          CIVIL ACTION NO. 4:21-CV-00805.
 WILLIAMS, IN HIS OFFICIAL                           §
 CAPACITY AS EXECUTIVE DIRECTOR                      §
 OF THE TEXAS DEPARTMENT OF                          §
 TRANSPORTATION,                                     §
           Defendants.                               §

                                    .AGREED ORDER GRANTING STAY

        The Court having reviewed and considered the Joint Motion to Stay (ECF 19) to permit

settlement discussions between the parties, hereby GRANTS the motion, and this case is stayed

for 45 days. The parties will file a status report 45 days from today's date to update the Court on

the status of the negotiations and, if agreed by all parties, may petition the Court to extend the stay.


               SIGNED on December�, 2021.




                                                         UNITED STATES DISTRICT JUDGE
